        Case 1:22-cv-02297-SEG Document 11 Filed 08/19/22 Page 1 of 1

                           UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                    2211 UNITED STATES COURTHOUSE
                                       75 TED TURNER DRIVE, SW
                                     ATLANTA, GEORGIA 30303-3361
KEVIN P. WEIMER                                                                    DOCKETING SECTION
DISTRICT COURT EXECUTIVE                                                            404-215-1655
 AND CLERK OF COURT
                                         August 19, 2022

Clerk's Office
U.S. Court of Appeals
Federal Circuit
717 Madison Place
Washington, DC 20005


       U.S.D.C. No.: 1:22-cv-2297-SEG
       U.S.C.A. No.: 00-00000-00
       In re:        Raissa Djuissi Kengne v. Georgia Power Company

        Enclosed are documents regarding an appeal in this matter. Please acknowledge
receipt on the enclosed copy of this letter.

        Certified copies of the Notice of Appeal, Clerk’s Judgment, Order and Docket
   X    Sheet appealed enclosed.

        This is not the first notice of appeal. Other notices were filed on: .

   X    There is no transcript.

        The court reporter is .

        There is sealed material as described below: .

        Other: .

        Fees paid electronically on .

        Appellant has been leave to proceed in forma pauperis.

        This is a bankruptcy appeal. The Bankruptcy Judge is .

        The Magistrate Judge is .

   X    The District Judge is Sarah E. Geraghty.

        This is a DEATH PENALTY appeal.

                                                              Sincerely,

                                                              Kevin P. Weimer
                                                              District Court Executive
                                                              and Clerk of Court

                                                        By:   P. McClam
                                                              Deputy Clerk
